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Tracy M. Hayes

From:                                 Emily Branch <emily@odlelawfirm.com>
Sent:                                 Thursday, January 12, 2023 12:00 AM
To:                                   Sean M. Sturdivan; Tracy M. Hayes; Kaitlin Marsh-Blake
Cc:                                   William Odle; Michael Williams; Carlos Flores; Kathy M. Bowen
Subject:                              Plaintiffs' Expert
Attachments:                          20230111 Expert Report - Dan Beebe (with resume).pdf


BJ Smith et al v. HCC et al

Counsel,

Plaintiffs’ expert is Dan Beebe. Attached please find his report.

Best Regards,




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